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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                         Joyce Price                                   )
                            Plaintiff                                  )
                        v.                                             )      Civil Action No.      5:19-cv-3262-BHH
 Commissioner of the Social Security Administration                    )
                           Defendant                                   )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of           %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
O other: The decision of the Commissioner of Social Security is reversed and remanded to the Commissioner
for further proceedings.


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Bruce H. Hendricks, United States District Judge, who adopted the Report and
Recommendation of the Honorable Kaymani D. West, United States Magistrate Judge.

                                                                              ROBIN L. BLUME
Date:        May 5, 2021                                                     CLERK OF COURT


                                                                             s/ Glenda J. Nance
                                                                                         Signature of Clerk or Deputy Clerk
